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        IN   THE UNITED STATES COURT OF APPEED
                        FOR THE FIFTH CIRCUIT                   JAN    1   3 2014
                                                          CLEP,
                                                          W011        ITMiCT OF 11XA$
                                No. 13-50300
                               J:j 2                                           DEPJ1



DAVID H. GOODMAN, on behalf of himself and derivatively on behalf of Key
Ingredient Corporation; KEY INGREDIENT CORPORATION,

             Plaintiffs Appellees

V.



PHILIPPE CREVOISIER; CHRISTOPHE BOUZIGUES; KEVIN
CAMPHUIS; SEB, S.A., doing business as Groupe SEB; SEB, S.A.S., doing
business as SAS SEB; SEB ALLIANCE, doing business as Groupe SEB
Alliance,

             Defendants - Appellants



             Appeals from the United States District Court for the
                       Western District of Texas, Austin


 CLERK'S OFFICE:
      Under FED R. App. P. 42(b), the appeal is dismissed as of January 08,
2014, pursuant to appellants' motion.
  Case 1:12-cv-01169-JRN Document 119 Filed 01/13/14 Page 2 of 2
Case: 13-50300   Document: 00512493430   Page: 2   Date Filed: 01/08/2014




                               LYLE W. CAYCE
                               Clerk of the United States Court
                               of Appeals for the Fifth Circuit



                               By:
                               Linda B. Miles, Deputy Clerk

                   ENTERED AT THE DIRECTION OF THE COURT
